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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

RACHEL MADDOX, AND SHANNON MADDOX,                         )
                                                           )
                                                           )           CIVIL ACTION
                                 Plaintiff,                )
                                                           )           NO. 12-1641
                           vs.                             )
                                                           )
                                                                       SECTION: “N”
INTEGRO USA, INC. d/b/a INTEGRO INSURANCE                  )
BROKERS, CHRISTIAN CONGREGATION OF                         )
JEHOVAH’S WITNESSES, WATCHTOWER BIBLE                      )           MAGISTRATE: (1)
AND TRACT SOCIETY OF NEW YORK,                             )
INC., WESTWEGO CONGREGATION OF JEHOVAH’S                   )
WITNESSES, INC., PATRICK VICTOR AND KATHY                  )
VICTOR
                                                           )
                                                           )
                                 Defendants.               )

                           NOTICE OF SUBMISSION
              CHRISTIAN CONGREGATION OF JEHOVAH’S WITNESSES
                      MOTION FOR A PROTECTIVE ORDER

       PLEASE TAKE NOTICE that the foregoing Motion for a Protective Order is set for

submission before the Honorable Kurt D. Engelhardt, United States District Court, Eastern District of

Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130 on May 29, 2013 at 9:30 Am.

                                                      Respectfully submitted,

                                                      By /s/Ted M. Mitchell
                                                      Ted M. Mitchell       La. Bar No. 20964
                                                      2955 Ridgelake Drive, Suite 207
                                                      Metairie LA 70002
                                                      504-236-3966 – voice 504-273-2220 – fax


                                   CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing document has been electronically filed with the
Clerk of Court using the CM/ECF system this 6th day of May 2013 and notice of this filing will
be sent to all counsel of record by operation of the court's electronic filing system or by mail.

                                                      /s/Ted M. Mitchell
